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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                1/26/21


  United States of America,

                 –v–
                                                                    20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                         ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       On January 25, 2021, the Defendant filed twelve pre-trial motions. Because there is a

request to redact sensitive or confidential information, several of the motions have been filed

under temporary seal. The Government may respond to the Defendant’s proposed redactions

within two days of this Order.

       SO ORDERED.

Dated: January 26, 2021                          __________________________________
       New York, New York                                  ALISON J. NATHAN
                                                         United States District Judge




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